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          SECOND AMENDED COMPLAINT


                               EXHIBIT R
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PRINCE WILLIAM COUNTY PUBLIC SCHOOLS




                     2011-12
     Code of Behavior




      Providing A World-Class Education
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     Prince William County Public Schools Central Office

                                                                                                                                                  Superintendent’s Staff
                                                                                                                                                    Ms. Rae E. Darlington
                                                                                                                                                   Deputy Superintendent
                                                     School Board                                                                             Mr. David S. Cline
                                                    Mr. Milton C. Johns                                                   Associate Superintendent for Finance and Support Services
                                                    Chairman At-Large
                                                                                                                                             Mr. R. Todd Erickson
                                                    Mr. Don Richardson                                                     Associate Superintendent for Central Elementary Schools
                                                      Vice Chairman                                                                         Mrs. Rita Everett Goss
                                                    Gainesville District                                                   Associate Superintendent for Eastern Elementary Schools
                               Mrs. Lisa E. Bell                        Dr. Michael I. Otaigbe                                              Mrs. Jarcelynn M. Hart
                               Neabsco District                             Coles District                                 Associate Superintendent for Western Elementary Schools
                                                                                                                                          Mr. Timothy L. Healey
                          Mrs. Betty D. Covington                      Mrs. Denita S. Ramirez
                                                                                                                     Associate Superintendent for Student Learning and Accountability
                             Potomac District                           Woodbridge District
                                                                                                                                          Mr. Keith A. Imon
                              Mr. Grant Lattin                              Mr. Gil Trenum                      Associate Superintendent for Communications and Technology Services
                              Occoquan District                            Brentsville District                                                 Mr. Keith J. Johnson
                                                                                                                                   Associate Superintendent for Human Resources
                                           Superintendent of Schools
                                                                                                                                               Mr. Michael A. Mulgrew
                                               Dr. Steven L. Walts
                                                                                                                                      Associate Superintendent for High Schools
                                                                                                                                                Dr. Catherine P. Puttre
                                                                                                                                     Associate Superintendent for Middle Schools



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Responsibilities
     Prince William County School Board
     The “Code of Behavior” has been established for the Prince              student behavior and student discipline can be found in the
     William County Public Schools. The School Board, acting                 Prince William County Public Schools Policy Manual and
     through the Superintendent, holds all school employees                  Administration Manual which are available at each school, in
     responsible for supervising student behavior while students             public libraries, and online at pwcs.edu.
     are legally under the supervision of the schools. The School
     Board holds all students responsible for appropriate conduct            The School Board holds all parents responsible for
     as defined in the Policies and Regulations of the School Board          reading the “Code of Behavior,” and any policies or
     and as summarized in the Prince William County Public                   regulations referenced in the “Code of Behavior” for
     Schools “Code of Behavior.” Policies and Regulations governing          promoting proper student conduct.

        Please be aware that security cameras are located in all buildings and will be used to
        ensure the safety and security of all PWCS students, staff and property.

      Educational Team                                                         • Maintaining the educational records of individual
      While discipline is ultimately the responsibility of the individual,   		 students to include a record of disciplinary actions 		
      the implementation of an effective discipline program requires         		 involving the student. Such records may contain 		
      a cooperative team effort. Whenever possible, a preventive             		 information on police arrest or court action if the 		
      approach to discipline shall be taken in an effort to clarify          		 student is involved in unlawful behavior. Whenever 		
      standards of conduct, effectively assess a student’s individual            charges are placed with juvenile court authorities, it
      needs, and identify any significant factors which may be               		 may be considered an “arrest” even if the student is
      contributing to a student’s misconduct. The school principal           		 not physically taken into custody by police. (As required
      is the instructional leader responsible for the development of         		 under Virginia law.)
      a local school handbook which is consistent with policies and          School administrators (principals and assistant principals) are
      regulations of the School Board and the “Code of Behavior.”            responsible for appropriate follow-up action whenever students
      Administrators, teachers, and support personnel all work               report discrimination, harassment, or other acts which violate
      together to ensure the rights of each student in the School            the “Code of Behavior.” Teachers, counselors, and other
      Division.                                                              educational support staff are responsible for helping students
                                                                             get the assistance they may need from administrators. Staff
      The educational team is responsible for:                               response to each student complaint should be documented.
           • Providing an orderly school environment;
           • Providing a favorable psychological environment for             In 2004, the School Board created the Office of Student
             learning;                                                       Management and Alternative Programs (OSMAP) to which
           • Encouraging self-discipline;                                    the School Board delegated the responsibility of coordinating
           • Providing an atmosphere of mutual respect;                      the School Division’s efforts to provide a safe school
           • Treating each student as an individual in accordance            environment through the management of student conduct.
             with one’s needs;                                               The establishment of this office generated revisions to the
           • Encouraging, monitoring, and evaluating the progress of         “Code of Behavior” and related School Board policies and
             students;                                                       regulations. Students, parents, and staff are directed to Policies
           • Initiating and maintaining open lines of communication          731, “Appeal of Student Matters”; 744, “Short- and Long-term
             with parents;                                                   Student Suspensions;” 745,  “Student Expulsions, Readmissions,
           • Discussing the “Code of Behavior” with students at the          and Exclusions;” 747, “Office of Student Management and
      		 beginning of each school year and providing periodic                Alternative Programs and Regulations;” 681-1, “Alternative
             review during the school year;                                  Education Programs;” 731-1, “Appeal of Student Matters;”
           • Formulating and implementing school rules and                   733-1 “Conduct;” 735-1, “Prohibited Substances;” 744-1,
      		 regulations in compliance with policies and regulations             “Short- and Long-Term Student Suspensions;” 745-1, “Student
      		 of the School Board and the “Code of Behavior” 		                   Expulsions, Readmissions, and Exclusions;” 745-4, “School
             throughout the school setting;                                  Board Disciplinary Committee Procedures for Student Expulsion
           • Disseminating the local school handbook and the “Code           Appeal Hearing;” and 775-1, “Weapons and Other Prohibited
      		 of Behavior” at the beginning of each school year to all            Objects.” The School Board and school staff respect the privacy
             students and interested community groups;                       of students and have developed policies and procedures to
           • Providing both instruction and copies of the “Code of           protect student privacy rights in accordance with the law. These
      		 Behavior” and the school handbook to all new students               privacy rights extend to disciplinary matters. All School Board
             upon registration throughout the school year;                   policies and administrative regulations are available to parents/
           • Developing a plan of action, whenever possible, based           guardians and the public, with the current/official copies posted
      		 on the needs of the student and the school environment              to the School Division’s Web site, pwcs.edu Click on left link for
             as a whole; and                                                 “Policies and Regulations”), and hard copies kept in the School
                                                                             Board Clerk’s office.

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Appeal Procedures (continued)
Authority to Modify Disciplinary Actions – At each level of the procedure for all disciplinary appeals, the appeal may be granted or
denied and the related consequences (corrective measure) may be increased, decreased, or allowed to remain the same. If in the appeal of
a long-term suspension the School Board determines that expulsion may be appropriate, the student shall be notified by OSMAP of the right
to request a due process hearing before a committee of the School Board. In the event that the student does not request such a hearing or a
hearing is requested and the student fails to appear, a committee of the School Board will render a decision based upon the written record. In
the event that the decision of the School Board committee is not unanimous, the student may submit a written appeal to the full School Board.



Sexual Harassment
                                  SEXUAL HARASSMENT OF STUDENTS IS NOT PERMITTED
         Sexual Harassment is illegal and will not be permitted at school or at school-related activities. (Harassment based upon race, color,
         national origin, pregnancy, religion, or disability is also unlawful prohibited conduct.) The following questions and answers will help
         students understand what sexual harassment is and what may be done to protect them from it.

         1.        Q: What is sexual harassment?

           A: Sexual harassment is an illegal form of discrimination based on a person’s sex even if the victim and harasser are the
              same sex. It occurs when a student is treated unfairly because of his or her sex, or when a student feels hurt or
         		 uncomfortable because of what is said or done by another person (student or adult). Words (spoken or written),
         		 actions, or bodily contact may be considered sexual harassment if they are connected in some way with a person’s sex,
         		 and if they are considered to be unwanted or harmful by the student.

         2.        Q: How do I know if I have been sexually harassed?

           A: Sometimes it is not easy to know if you have been sexually harassed. If you are singled out, left out, teased,
         		 embarrassed, or harmed in some other way because of your gender, it may be sexual harassment. Sexual harassment
         		 includes conduct as simple as a dirty joke which makes you feel uncomfortable, or as serious as somebody touching you
              when or where you do not want to be touched. It may only happen once or it may be repeated. If it is connected to
         		 gender, if you do not like it, and if it is serious or repeated, it may be considered sexual harassment.

         3.        Q: What should I do if I have been sexually harassed?

           A:          If you believe that you have been sexually harassed, tell your teacher, counselor, assistant principal, principal, or
         		            parents immediately. These people will listen to you, give you the help that you need, and see that the harassment
         		            stops. You have the right to complain any time you believe that you have been harassed, discriminated against, or
         		            treated unfairly in any way. The complaint procedures are found in Regulation 738-1, Complaint Procedures for
         		            Student Claims of Discrimination or Harassment.

         4.        Q: How will sexual harassment complaints be handled by the school administration?

           A:          All complaints of sexual harassment will be handled according to policies and regulations of PWCS. The person accused
         		            of sexual harassment will be told about the complaint and given a chance to explain. Parents of the students involved
         		            will be informed. Witnesses to the alleged harassment will be interviewed. All such information will be considered
         		            when investigating and resolving a complaint.

         5.        Q: What will happen to those who engage in sexual harassment?

           A: If the person is found to have engaged in sexual harassment, the consequences will be determined by the nature of the
              harassment and circumstances of the case. For students, the consequences will be based on the “Corrective Actions”
         		 described in the “Code of Behavior,” and may range from a warning or counseling to suspension or expulsion. Student
              disciplinary measures are confidential by law and cannot be shared. If an adult staff member engages in sexual
         		 harassment, that person will face serious consequences up to and including dismissal depending on the seriousness of
              the harassment. In addition, the police will be contacted when any laws may have been broken.

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Sexual Harassment (continued)
6.       Q: What happens to me if I complain about sexual harassment?

  A: Students should feel free to report harassment so that the problem can be corrected. Those who engage in sexual harassment
		 will be warned that there may be more serious consequences if they attempt to retaliate against the person who reported them,
		 or if they continue the harassment. Every effort will be made to protect the student from retaliation or continued harassment,
		 and to see that the student receives whatever help is needed. All students should understand, however, that complaints will be
		 taken seriously and that corrective action may be taken against a student for making a complaint of harassment which is not 		
		true.

7.       Q: What if sexual harassment is not handled in a satisfactory way at the school?

  A: The parent/guardian of either student (accuser or accused) may appeal to the level associate superintendent if dissatisfied
		 with the way the school has handled a sexual harassment complaint. Appeals should be delivered in writing to the level
     associate superintendent within five school days as explained on Page 22 of the “Code of Behavior.”


8.       Q: What can students do to stop sexual harassment?

         A: Students can help to stop sexual harassment by:
            • Letting others know when their behavior is unacceptable.
            • Telling the harasser very firmly to stop, and doing so at the first sign of harassment.
            • Keeping notes of dates, times, places, witness names, etc.
            • Asking for the help of a teacher or counselor.
            • Reporting harassment to the principal or assistant principal.

Any student or parent who would like help in dealing with sexual harassment should talk with the principal, counselor, or teacher at the
school, or call the Office of Student Services at 703.791.7257. A copy of the policy and regulation on sexual harassment is available at pwcs.edu
or upon request.




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                     SEX DISCRIMINATION AND SEXUAL HARASSMENT OF STUDENTS
Prince William County Public Schools is committed to a school environment in which students are free from sex discrimination by other students,
employees, or third parties. The school administration will take appropriate steps to prevent sex discrimination and will deal promptly and decisively
with reported incidents of discrimination. Sexual harassment is one form of sex discrimination which, like others, is strictly prohibited. Regulation
738-3, Sexual Harassment of Students, provides detailed information about sexual harassment and is available at pwcs.edu or upon request by calling
the Office of Student Services at 703.791.7257. Following is a summary of information from that regulation.
Definition of Sexual Harassment
Sexual Harassment is defined as unwelcome sexual advances, requests for sexual favors, and other verbal, written, or physical conduct of a sexual
nature, when one or more of the following applies:
      • Submission to such conduct is made a term or condition of employment, instruction, or participation in school activities.
      • Submission to or rejection of such conduct is used as the basis for making decisions about the student.
      • Such conduct has the purpose or effect of interfering with performance in school or creating an intimidating, abusive, offensive, or hostile
      environment.
A “hostile environment” is created when acts of a sexual nature are sufficiently severe, persistent, or pervasive as to deny the benefits of the school to
the student. A single “severe” act, such as inappropriate touching or the touching of an intimate part of the body, may constitute sexual harassment.
A pattern of less-severe acts may be sexual harassment if pervasive or repeated, depending on the nature, frequency, context, and target of the acts.
An isolated act, such as a verbal comment would not generally be considered sexual harassment. Sexual harassment is determined by its effect on the
victim (based on the “reasonable person” standard), not on the intent of the harasser. It is harassment if the victim, as any “reasonable person” might
be, is harmed–if the victim feels offended, intimidated, threatened, abused, or persecuted to the extent that the victim is denied certain benefits of the
school or participation in school programs.
Complaint Procedure
All students should be informed of their right to protection against sexual harassment and the right to file a complaint if they believe they have been
harassed. School administrators are responsible for investigating each complaint, determining if the complaint is legitimate in accordance with the
above definition, and taking corrective action where warranted. Any student can file a complaint by talking to an administrator and completing a
complaint form, available in the school’s office, and returning this form to an assistant principal or principal. All teachers, counselors, and educational
support staff should be informed of the students’ rights to file a complaint and should be able to help as appropriate, and will provide assurance of
corrective action and protection against retaliation. School administrators will respond to complaints of sexual harassment according to guidelines in
Regulation 738-1, Complaint Procedures for Student Claims of Discrimination or Harassment. Complaints will be investigated in a prompt and impartial
manner by the principal or designee who will interview the accused, as well as witnesses, and consider all relevant information/evidence. The accused
and the parents of both parties will be informed of the complaint; otherwise, confidentiality will be maintained to the extent possible. The principal or
designee will advise the complainant of counseling services or other sources of help as appropriate, and will provide assurance of corrective action and
protection against retaliation.
Corrective Action
Anyone accused of harassment will be informed of the specific complaint and given the opportunity to provide an explanation in defense. If a student
has engaged in sexual harassment, corrective action will be taken in accordance with established disciplinary procedures. Corrective action may range
from admonition and counseling to suspension or expulsion depending on the seriousness of the incident and the need to protect other students from
future harassment. If an employee has engaged in sexual harassment, appropriate disciplinary action will be taken up to and including dismissal,
depending on the seriousness of the offense. In addition, students, employees, and third parties may be reported to authorities for appropriate legal
action. NOTE: Any student who knowingly files a false complaint of harassment may also be subject to corrective action.
Protection Against Retaliation
Students should feel free to report harassment without fear of retaliation from the accused. Any attempt of retaliation will be addressed by appropriate
corrective action up to and including expulsion for students. School Division employees who make any attempt to retaliate as a result of a harassment
charge will also face disciplinary measures, up to and including dismissal from their job.
Appeal Procedure
A student may appeal the decision of the school administration in any sexual harassment case. Appeals must be stated in writing by the parent/
guardian or emancipated student and forwarded to the appropriate level associate superintendent according to the procedures found in Regulation
738-1, Complaint Procedures for Student Claims of Discrimination or Harassment.
Preventive Measures
The school will act to prevent sexual harassment as described in Regulation 738-3. Students can help to prevent or stop harassment if they will:
     • Let the harasser know very clearly that such actions are not wanted.
     • Tell the harasser very firmly to stop.
     • Keep written notes of dates, times, places, witness names, and other information about actual occurrences of harassment.
     • Keep notes, letters, and other evidence of harassment.
     • Talk with a counselor or administrator and, if appropriate, file a complaint.
Sources of Help
Any student or parent who needs help in understanding the sexual harassment regulation or in knowing how to deal with concerns about sexual
harassment should talk with the principal, assistant principal, or counselor at school or call the Office of Student Services at 703.791.7257.




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                   Complaint of Harassment or Discrimination

The Prince William County Public Schools “Code of Behavior” states, “Words, gestures, symbols, actions, or physical
contact which offend, intimidate, threaten, or persecute others will not be tolerated.” The principal and staff of this
school are committed to enforcement of the “Code of Behavior” and will respond promptly and appropriately to
complaints of harassment or discrimination. Any student can file a complaint by talking to an administrator
and/or completing this form and returning it to an assistant principal or principal. This form may be photocopied
or obtained from the school counseling office.

                                                   PLEASE PRINT

Name of Student completing this form:

School:

Name(s) of Person(s) accused of harassment or discrimination:




Description of Complaint: (use specific dates, times, witness names, etc. if possible)




Signature of Student completing this form:								


Date:

NOTE: All complaints will be followed by an investigation. Those accused as well as the parents of students involved
will be informed of complaints, witnesses will be interviewed, and all information will remain confidential except for
that which must be shared as part of the investigation.




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Bullying
                                         BULLYING OF STUDENTS IS NOT PERMITTED
      Each school is committed to creating an environment in which students are free from bullying. Students are strongly encouraged
      to report incidents to the school administration. The school administrator will take appropriate steps to respond quickly and
      decisively to student reports of bullying. Students may use the form on page 28 to report incidents of bullying. The Bullying
      Complaint Form is also located in the guidance department or main office.


               Q: What is bullying?

        A:          Bullying consists of any words or actions that harm or threaten another person’s body, property, self-esteem or group
      		            acceptance. Bullying happens when someone says or does something that hurts or threatens another person or makes
      		            them feel bad. This includes all oral, written, electronic, or non-verbal forms of ridicule, harassment, and intimidation.
      		            Cyberbullying, a form of bullying which involves the transmission, receipt, or display of electronic messages and/or
                    images, is strictly forbidden and is an unacceptable use of technology*. If allowed to continue, bullying can result in
      		            serious acts of violence, health problems, declining grades, and loneliness. Bullying can make people hurt themselves or
                    other people, get sick, get bad grades, and feel lonely. In addition, bullies in school are more likely than their peers to
      		            commit crimes after they grow up.

                    *Unacceptable use of technology includes use of technology off school property which has a material effect on the
      		            operation or general welfare of the School Division, impacts the integrity of the educational process, threatens the safety
      		            and welfare of students, staff, or school property, occurs when the student is under the school’s authority in loco
      		            parentis, or otherwise invades the rights of students or staff.

               Q: What behaviors are considered to be bullying behaviors?

        A:          Some examples of bullying behaviors include purposely not including people, taunts, threats, gestures, insults, gossip,
      		            humiliation, teasing, cyberbullying, horseplay, pushing, tripping, hitting, stealing or destroying property, cursing, and
      		            laughing at others based on their appearance, academic or athletic ability, or any other reason. There are many different
      		            ways that bullying happens. Sometimes it’s just people making other people feel left out. Other times it’s hitting, teasing,
      		            or threatening to hurt someone. Stealing or bothering someone’s lunch or books is bullying, too, and so is laughing at
                    someone because they wear glasses or different kinds of clothes, or because they aren’t good at sports. Using the Internet
      		            or computers to harm people is another form of bullying. Other harmful behaviors can be bullying, too.

               Q: How can I report bullying?

        A: Any student can report bullying by talking to an administrator or staff member, or completing the Bullying
           Complaint Form on page 28. Staff members must report your complaint to the school administration. This information
      		 should also be shared with your parent(s)/guardian(s).

               Q: What should I do if the bullying continues?

        A: Report this to a school administrator or staff member immediately. It is also important to tell your parent(s)/guardian(s)
      		 that the bullying is continuing. Administrators will take disciplinary action up to and including expulsion if the student
      		 accused of bullying attempts to get back at the victim for reporting his/her bullying behavior.

               Q: Are there immediate actions that I can take if I am bullied?

               A: Yes. These actions include:
                        • Telling the bully very firmly to stop.
                        • Keep written notes of dates, times, places, witness names and other information about any incident of bullying.
                        • Talking with a staff member, counselor, administrator or parent about the incident immediately.


      BULLYING BEHAVIORS WILL NOT BE TOLERATED IN PRINCE WILLIAM COUNTY PUBLIC SCHOOLS, ON SCHOOL
      GROUNDS, OR AT SCHOOL-RELATED ACTIVITIES. PWCS TIPLINE: 703.791.2821


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                                                    Complaint of Bullying

 The Prince William County Public Schools “Code of Behavior” states, “Actions which cause the physical, verbal, or
 emotional abuse of others will not be tolerated. Taunts, threats, insults, gossip, harassment, humiliation, teasing,
 cyberbullying, pushing, tripping, and hitting, are all considered to be bullying behaviors.” The principal and staff of
 this school are committed to enforcement of the “Code of Behavior” and will respond promptly and appropriately to
 complaints of bullying. Any student can complain about bullying by talking to an administrator and/or completing
 this form and returning it to an assistant principal or principal. This form may be photocopied or obtained from the
 school counseling office.


                                                           PLEASE PRINT!


 Name of Student completing this form:________________________________________________

 School:___________________________________________________________________________

 Name(s) of Student(s) accused of bullying:_____________________________________________

 _________________________________________________________________________________

 _________________________________________________________________________________

 Description of the Incident (who, what, when, where, why and how). Use specific dates, times,
 locations, witness names, etc. if possible.

 _________________________________________________________________________________

 _________________________________________________________________________________

 _________________________________________________________________________________

 _________________________________________________________________________________

 _________________________________________________________________________________


 Signature of student completing this form:_____________________________________________

 Date:_____________________________________________________________________________


 NOTE: All complaints will be followed by an investigation. Those accused as well as the parents of students involved will be informed of
 complaints, witnesses will be interviewed, and all information will remain confidential except for that which must be shared as part of the
 investigation.



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